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                     EXHIBIT B
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


United States of America, et al.,

        Plaintiffs,

v.
                                                    Case No. 1:20-cv-03010-APM
Google LLC,

        Defendant.



             [PROPOSED] ORDER GRANTING ADMISSION PRO HAC VICE

       UPON CONSIDERATION of the Motion for Pro Hac Vice Admission of Caitlin N.

Fitzpatrick, together with papers submitted in support thereof, the Court HEREBY ORDERS:

       The Motion for Pro Hac Vice Admission of Caitlin N. Fitzpatrick is GRANTED and

Caitlin N. Fitzpatrick is admitted pro hac vice to the United States District Court for the District

of Columbia to represent Yahoo! Inc. in the above-captioned case.

       IT IS SO ORDERED.



       This _____ day of _______________, 2025.




                                                  United States District Judge
